Case 1:21-cr-00229-RBJ Document 163-1 Filed 02/18/22 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 21-cr-0229-RBJ

 UNITED STATES OF AMERICA,

                       Plaintiff,
 v.
              1. DAVITA INC.,
              2. KENT THIRY,

                       Defendants.

 _____________________________________________________________________________

    [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR
                                ENLARGEMENT
 _____________________________________________________________________________

        This matter comes before the Court on Defendants’ unopposed motion of February 18,

 2022, for an enlargement of five pages for the parties’ memoranda in support of their proposed,

 disputed jury instructions. The Court hereby grants the motion. Accordingly, it is

        ORDERED that the parties may file memoranda in support of their proposed, disputed

 jury instructions not to exceed 20 pages, consistent with otherwise-applicable rules and practice

 standards.



 DATED this ___ day of February, 2022.

                                              BY THE COURT:

                                               _______________________________

                                               R. BROOKE JACKSON

                                               United States District Judge



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